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                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WASHINGTON
                                                                 Case No.   2:20-CR-00005-SMJ-1
 UNITED STATES OF AMERICA,
                                                                            4:19-CR-06063-SMJ-1
                                                                 CRIMINAL MINUTES
                                      Plaintiff,
        -vs-                                                     DATE:     SEPTEMBER 24, 2021
                                                                 LOCATION: RICHLAND
 MONICA PESINA,
                                      Defendant.                 SENTENCING HEARING


                                      Hon. Salvador Mendoza, Jr.
          Nicole Cruz                                  02                              Kimberly Allen
      Courtroom Deputy                              Law Clerk                          Court Reporter
                Stephanie Van Marter                                        Kenneth Therrien
                Government Counsel                                          Defense Counsel
 United States Probation Officer: Sean Carter, appearing via videoconference

               [X] Open Court                 [    ] Chambers                [ ] Teleconference

Defendant present, in custody of the US Marshal.

2:20-CR-00005-SMJ-1/4:19-CR-06063-SMJ-1

Mr. Therrien orally withdraws objections to the Presentence Investigation Report listed in Defendant’s
Sentencing Memorandum -2:20-CR-00005-SMJ-1 (ECF 142) and 4:19-CR-06063-SMJ-1 (ECF 184).

Court: objections addressed in Defendant’s Sentencing Memorandum are OVERRULED as moot.

Argument and recommendation by Ms. Van Marter; argument and recommendation by Mr. Therrien.
Defendant addresses the Court on his own behalf.
The Court accepts Presentence Investigation Reports as submitted.

Court accepts the Plea Agreement which was deferred until sentencing in this matter; Order Accepting Plea
Agreement signed and filed.


[X] ORDER FORTHCOMING

 CONVENED: 11:57 A.M.          ADJOURNED: 12:37 A.M.            TIME:    0:40 HR.     CALENDARED         [ ]
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Imprisonment:              151 months to run concurrent with 4:19-CR-06063-SMJ-1

Defendant shall receive credit for time served in federal custody prior to sentencing in this matter.

Court recommends placement at FCI Dublin, California and participate in RDAP.

Supervised Release:        Count 1: 5 years; Count 3: 3 years to run concurrent on standard and mandatory
conditions, and the following special conditions:

1. You must submit your person, residence, office, or vehicle and belongings to a search, conducted by a
probation officer, at a sensible time and manner, based upon reasonable suspicion of contraband or evidence of
violation of a condition of supervision. Failure to submit to search may be grounds for revocation. You must
warn persons with whom you share a residence that the premises may be subject to search.

2. You must undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider,
enter into and successfully complete an approved substance abuse treatment program, which could include
inpatient treatment and aftercare upon further order of the court. You must contribute to the cost of treatment
according to your ability to pay. You must allow full reciprocal disclosure between the supervising officer and
treatment provider.

3. You must abstain from the use of illegal controlled substances, and must submit to urinalysis and sweat patch
testing, as directed by the supervising officer, but no more than 6 tests per month, in order to confirm continued
abstinence from these substances.

4. You must not enter into or remain in any establishment where alcohol is the primary item of sale. You must
abstain from alcohol and must submit to urinalysis and Breathalyzer testing as directed by the supervising
officer, but no more than 6 tests per month, in order to confirm continued abstinence from this
substance.

Fine:                      Waived
Special Assessment:        $200
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Imprisonment:              151 months to run concurrent with 2:20-CR-00005-SMJ-1

Defendant shall receive credit for time served in federal custody prior to sentencing in this matter.

Court recommends placement at FCI Dublin, California and participate in RDAP.

Supervised Release: 5 years on standard and mandatory conditions, and the following special conditions:
Same conditions as ordered in 2:20-CR-00005-SMJ-1.

Fine:                      Waived
Special Assessment:        $100

Appeal rights waived pursuant to the Deferred Plea Agreement previously executed by the defendant and filed in
both cases.
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Ms. Van Marter orally moves to dismiss count 2 in both cases.
Court: Motion GRANTED.
